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                 1IN THE UNITED STATES DISTRICT COURT
                 FOR THE SOUTHERN DISTRICT OF ALABAMA
                           SOUTHERN DIVISION


UNITED STATES OF AMERICA,            *
                                     *
                                     *
vs.                                  *     CRIMINAL NO. 09-00240-KD
                                     *
JOSE NORIEGA                         *


                            ORDER OF DETENTION

       In accordance with the Bail Reform Act, 18 U.S. C. § 3142(f),

a detention hearing was conducted on November 13, 2009. Based upon

the evidence presented, the undersigned concludes that Defendant is

to be detained pending trial.

I.     Underlying Charges

       Defendant Jose Noriega, along with Defendants Yzumy Rodriguez,

Omar David Huezo, Juan Ramon Sabina, Alcides Sabina, Juan Carlo

Aloma, and Madelyn Aloma, have been charged in a three count

indictment returned by the Grand Jury on October 29, 2009.                The

indictment charges that beginning on or about January 1, 2009 and

continuing until the return of the indictment, Defendants conspired

to unlawfully distribute and possess with intent to distribute

marijuana in violation of Title 21 U.S.C. § 846.         Additionally, it

is    alleged   that   Defendants,   on   October   9,   2009,   unlawfully

possessed with intent to distribute marijuana in violation of 21

U.S.C. § 841(a)(1)1.


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 The indictment also includes a forfeiture count.
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      At the detention hearing, the Government presented evidence

that an anonymous telephone tip culminated in the search of four

residences in North Mobile County on October 9, 2009.               The first

residence searched was 6562 Jib Road West, in Eight Mile, Alabama.

The search of this residence yielded more than 100 marijuana

plants, an elaborate electrical system, an extensive high tech

lighting system and a firearm.        8500 Chutney Drive in Eight Mile,

Alabama was the second residence which was searched. The search of

a barn located at this address yielded more than 240 marijuana

plants, an elaborate electrical system an extensive high tech

lighting system and a firearm. The third residence which was

searched was 5540 Kushla McLeod Road. This search yielded more than

150 marijuana plants, an elaborate electrical system, and an

extensive high tech lighting system.          No marijuana nor plants were

located   during    the   search   of      the   fourth     residence.      The

investigation    following    these       searches   lead    to   the    instant

indictment.

II.   Analysis

      Pretrial detention of a criminal defendant is appropriate when

“no condition or combination of conditions will reasonably assure

the appearance of the person as required and the safety of any

other person and the community.” 18 U.S.C. § 3142(e).                   In drug

cases, when the defendant faces a maximum of over ten years of

imprisonment, such as the instant case, the Bail Reform Act


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establishes a rebuttable presumption that the defendant is both a

flight risk and a threat to the community2.              See     Id.   “This

presumption imposes on a defendant the burden of production to come

forward with evidence suggesting that [he] is neither a danger to

the community nor a risk of flight.”        United States v. Allen, 891

F. Supp. 594, 597 (S.D. Fla. 1995).           If the defendant fails to

rebut either part of the statutory presumption (i.e., the risk of

flight   or   danger   to   the   community),    pretrial      detention   is

warranted. See United States v. King, 849 F. 2d 485,488 (llth Cir.

1988).   On the other hand, if the defendant rebuts both prongs of

the presumption, the burden shifts to the government to establish

that the defendant is either a flight risk or a danger to the

community.3


     2
      The presumption arises upon probable cause that the defendant
has committed a drug offense carrying a maximum penalty of over ten
years imprisonment. See 18 U.S.C. § 3142(e).       In the Eleventh
Circuit, probable cause for § 3142(e) purposes is established by
the return of an indictment against a defendant, charging him with
an offense punishable by more than ten years imprisonment. See
United States v. King, 849 F. 2d 485, 487-88 (llth Cir. 1988). In
this case, Count one of the Indictment charges conspiracy with
intent to distribute marijuana, under 21 U.S.C. § 846 and carries
a penalty of 5 to 40 years. Count two of the indictment charges
possession with intent to distribute marijuana, under 21 U.S.C. §
841(a)(1) and carries a penalty of twenty years. Thus, probable
cause for triggering §3142(e)’s presumption has been established.
     3
      The United States is charged with different burdens of
proof on the issues of risk of flight and danger tot he
community. The United States need only prove risk of flight by a
preponderance of evidence, while it must prove that a defendant
presents a danger to the community by clear and convincing
evidence. See United States v. Quartermaine, 913 F. 2d 910, 915-
17 (llth Cir. 1990).
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      In    weighing      the   evidence   as   to    risk   of    flight    and

dangerousness, the Court must consider the factors listed in 18

U.S.C. § 3142(g).

      (1)   The nature and circumstances of the offense charged,

including whether the offense is a crime of violence...;

      (2)   the weight of the evidence against the person;

      (3)   the history and characteristics of the person, including-

            -–

            (A)     the    person’s   character,       physical    and   mental

            condition, family ties, employment, financial resources,

            length of residence in the community, drug or alcohol

            abuse, criminal history and record concerning appearance

            at court proceedings; and

            (B) whether, at the time of the current offense or

            arrest, the person was on probation, on parole, or on

            other    release     pending   trial     sentencing,   appeal,    or

            completing of sentence for an offense under Federal,

            State, or local law; and

      (4)   the nature and seriousness of the danger to any person or

the community that would be posed by the person’s release.

Id.

      A. Flight Risk

      Based on the evidence presented at the detention hearing, the

undersigned finds that Defendant Noriega has not presented evidence


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to rebut the presumption that he poses a serious risk of flight and

a danger to the community.       The evidence reflects that Defendant

Jose Noriega is the owner of the Chutney Drive property and was

present during the search of the barn, which yielded 245 marijuana

plants,       an elaborate electrical system, an extensive high tech

lighting system and a firearm. Defendant has minimal ties to this

area.       He resided at the Chutney Drive residence for less than a

year, and he has no other family members residing in this area4.

Moreover, while Defendant, who was born in Cuba, is a lawful

resident of this Country, he has close relatives, namely his father

and a sibling, still residing in Cuba. The fact that Defendant has

relatives residing in the Miami, Florida area, and that he owns

property in both Mobile and Miami is not sufficient, standing

alone, to rebut the presumption that he is a flight risk.             Nor is

the fact that he has no criminal record.            See United States v.

Rivera, 90 F. Supp. 2d 1338, 1343 (S.D. Fla. 2000).

        In addition, the Government presented facts that support a

finding of a flight risk even if the presumption had been rebutted.

Specifically, the evidence against Defendant Noriega appears very

strong, he faces a lengthy term of imprisonment if convicted, and

he has significant ties outside of this country.                 Plus, while

Defendant reported that he has not been employed in over a year, it

appears that he nevertheless has resources which have enabled him
        4
      The evidence reflects that Defendant’s wife, Yzumy
Rodriguez, who is also a co-defendant in this action, relocated
to Florida shortly before the October 9th search.
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to maintain properties in both Mobile and Miami.            Accordingly, the

undersigned    finds     that   Defendant    has   failed    to   rebut    the

presumption that he is a flight risk and that the Government has

presented evidence, independent of the presumption, sufficient to

satisfy its burden of proof as to the flight risk.

      B.   Danger to the Community

      With respect to the issue of dangerousness, the record is

absolutely devoid of evidence countering the statutory presumption,

aside from Defendant’s lack of a prior criminal record.              The lack

of a prior criminal record, standing alone, is not sufficient to

rebut the statutory presumption.          See United States v. Rivera, 90

F. Supp. 2d at 1343. Moreover, the Government has presented strong

evidence of Defendant’s involvement in a sophisticated, large scale

illegal marijuana growing operation.         Accordingly, the undersigned

finds that even in the absence of the statutory presumption, there

is   strong   evidence   supporting   the    Government’s     position    that

Defendant Noriega represents a danger to the community, and that

there are no conditions that would reasonably assure the safety of

the community. Thus, Defendant is to be detained.

III. Directions Regarding Detention

      Defendant is committed to the custody of the Attorney General

or his designated representative for confinement in a corrections

facility separate, to the extent practicable, from persons awaiting

or serving sentences or being held in custody pending appeal.


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Defendant shall be afforded a reasonable opportunity for private

consultation with defense counsel.          On order of a court of the

United States or on request of an attorney for the Government, the

person in charge of the corrections facility shall deliver the

defendant to the United States Marshal for the purpose of an

appearance in connection with a court proceeding.

     Done this 16th day of November, 2009.



                                   /s/ Sonja F. Bivins
                              UNITED STATES MAGISTRATE JUDGE




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